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                                                         - 535 -
                               Nebraska Supreme Court Advance Sheets
                                        312 Nebraska Reports
                                                YOCHUM V. YOCHUM
                                                 Cite as 312 Neb. 535



                                   Heather K. Yochum, now known as
                                   Heather K. Underwood, appellant,
                                      v. Chad C. Yochum, appellee.
                                                    ___ N.W.2d ___

                                        Filed September 30, 2022.   No. S-21-563.

                 1. Divorce: Judgments: Appeal and Error. The meaning of a divorce
                    decree presents a question of law, in connection with which an appellate
                    court reaches a conclusion independent of the determination reached by
                    the court below.
                 2. Contempt: Appeal and Error. In a civil contempt proceeding where
                    a party seeks remedial relief for an alleged violation of a court order,
                    an appellate court employs a three-part standard of review in which (1)
                    the trial court’s resolution of issues of law is reviewed de novo, (2) the
                    trial court’s factual findings are reviewed for clear error, and (3) the trial
                    court’s determinations of whether a party is in contempt and of the sanc-
                    tion to be imposed are reviewed for abuse of discretion.
                 3. Attorney Fees: Contempt: Appeal and Error. A trial court’s decision
                    awarding or denying attorney fees in a contempt proceeding will be
                    upheld on appeal absent an abuse of discretion.
                 4. Judgments: Words and Phrases. A judicial abuse of discretion
                    requires that the reasons or rulings of the trial court be clearly unten-
                    able insofar as they unfairly deprive a litigant of a substantial right and
                    a just result.
                 5. Damages: Evidence: Proof. A plaintiff’s evidence of damages may not
                    be speculative or conjectural and must provide a reasonably certain basis
                    for calculating damages.
                 6. ____: ____: ____. The question whether the evidence of damages is
                    “reasonably certain” is a question of law, and not as a matter to be
                    decided by the trier of fact.
                 7. Evidence: Records: Pleadings: Appeal and Error. An appellate record
                    typically contains the bill of exceptions, used to present factual evidence
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             Nebraska Supreme Court Advance Sheets
                      312 Nebraska Reports
                             YOCHUM V. YOCHUM
                              Cite as 312 Neb. 535
       to an appellate court, and the transcript, used to present pleadings and
       orders of the case to the appellate court.
 8.    Evidence: Records: Appeal and Error. A bill of exceptions is the only
       vehicle for bringing evidence before an appellate court; evidence which
       is not made a part of the bill of exceptions may not be considered.
 9.    ____: ____: ____. Before an appellate court can consider evidence bear-
       ing upon an issue of fact, evidence must have been offered at the trial
       court and embodied in the bill of exceptions.
10.    Divorce: Contempt. When a party willfully violates a decree, coercive
       and remedial sanctions are appropriate.
11.    Contempt. Civil contempt proceedings are instituted to preserve and
       enforce the rights of private parties to a suit when a party fails to com-
       ply with a court order made for the benefit of the opposing party.
12.    Contempt: Costs: Attorney Fees. Costs, including reasonable attorney
       fees, can be awarded in a contempt proceeding when there has been a
       finding of contempt.
13.    Attorney Fees. The decision to award attorney fees is a matter of
       discretion.

   Appeal from the District Court for Lancaster County: Susan
I. Strong, Judge. Affirmed in part, vacated in part, and in part
reversed and remanded for further proceedings.

      Ryan Mick Swaroff, of Swaroff Law, L.L.C., for appellant.

      Jeanelle S. Kleveland, of Kleveland Law Office, for appellee.

  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.

   Miller-Lerman, J.
                      NATURE OF CASE
   The district court for Lancaster County found that Heather
K. Yochum, now known as Heather K. Underwood, was in
contempt of court orders contained in the divorce decree
from Chad C. Yochum. Specifically, it found that for the tax
years 2014 and 2019, she willfully violated the dependency
tax exemption provisions of her marital dissolution decree
and the order in modification. Heather appeals the findings of
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                      YOCHUM V. YOCHUM
                       Cite as 312 Neb. 535
contempt, the amount of damages awarded to Chad, and attor-
ney fees. We reverse the district court’s order finding Heather
in contempt for taking tax exemptions for the 2014 tax year,
but affirm with respect to her filing for 2019. We vacate the
award of $3,975 awarded to Chad for tax year 2014, because
he was not harmed in 2014. We also vacate $600 in dam-
ages awarded to Chad for the 2019 tax year for lack of proof.
Finally, we reverse the award of attorney fees to Chad and
remand the cause for further proceedings with respect to the
amount of Chad’s attorney fees.

                  STATEMENT OF FACTS
   On March 7, 2011, the district court entered a decree dis-
solving the marriage of Heather, the appellant, and Chad, the
appellee. The parties have four children together. In 2016, the
decree of dissolution was modified as to child support obli-
gations, custody, and specific parenting time. In 2020, Chad
filed an application for order to show cause, alleging that
Heather was in contempt of the district court’s prior orders
because she claimed dependency tax exemptions on her fed-
eral taxes in 2014 and 2019. The district court for Lancaster
County held hearings on three dates in the fall of 2020 and
a fourth date in June 2021. In October 2020, Heather filed a
motion for Chad to show cause why he should not be found
in contempt of court for allegedly failing to pay his portion
of childcare expenses during 2019. The record may be sum-
marized as follows:

2011 Decree.
   The 2011 decree awarded Heather physical custody of the
parties’ minor children, and Chad received reasonable rights
of parenting time set forth in the parenting plan. It provided
that Chad pay child support to Heather and subjected him to
income withholding. The attached property settlement also
provided that “in the event [Chad] fails to pay any support
as such failure is certified each month by the Clerk of the
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          Nebraska Supreme Court Advance Sheets
                   312 Nebraska Reports
                       YOCHUM V. YOCHUM
                        Cite as 312 Neb. 535
Lancaster County District Court in which court-ordered sup-
port is delinquent in an amount equal to the support due and
payable for a one-month period of time,” he would be required
to show cause why such payment was not made or face a war-
rant for his arrest. Critical to the arguments made in this litiga-
tion, the decree provided:
         7. DEPENDENCY EXEMPTIONS: Commencing the
      year 2011, [Chad] shall have the right to claim [two
      of the minor children] as dependents on his State and
      Federal Taxes. At such time as there are three (3) minor
      children, [Heather] shall claim two (2) of the children
      in even-numbered years, and [Chad] shall claim one (1)
      child in even-numbered years. In odd-numbered years,
      [Heather] shall claim one (1) minor child and [Chad]
      shall claim two (2) children. At such time as there are
      two (2) minor children, each party shall claim one (1)
      child. When there is only one minor child, the parties
      shall alternate the dependency exemption with [Heather]
      claiming the minor child in all even-numbered years
      and [Chad] claiming the minor child[] all odd-numbered
      years. [Chad] shall only be entitled to claim any of the
      minor children for dependency exemption purposes in
      any year so long as he is current on his child support,
      child care, and medical care obligations at the end of
      the appropriate tax year. [Heather] agrees to not make
      any conflicting claim for said exemptions and shall upon
      request execute an IRS form 8332 releasing all right to
      claim said exemption.
         8. CHILD CARE: The parties shall each pay 50% [of]
      the work related child care costs incurred on behalf of the
      minor children, and [Chad] shall reimburse [Heather], as
      necessary, for child care expenses within fifteen (15) days
      of receipt of the statement for the same. [Heather] shall be
      allowed to claim the child care expense as a deduction on
      her taxes each year.
(Emphasis supplied.)
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                      YOCHUM V. YOCHUM
                       Cite as 312 Neb. 535
2016 Order in Modification.
   On July 27, 2016, the district court entered an order in
modification which, inter alia, modified the amount of Chad’s
child support obligations. The order of modification did not
provide for any changes to the parties’ dependency tax exemp-
tions and childcare obligations and stated that “[a]ny provi-
sions not herein modified from prior orders remain in full force
and effect.”
2014 Dependent Tax Exemption.
   Chad offered as an exhibit a notice of penalty he received
from the Internal Revenue Service after both he and Heather
had claimed the same two minor children for the tax year
2014.
   Chad testified, and the record reflects, that in 2014, he
had an automatic wage withholding for his child support.
However, a payment history report from the Department
of Health and Human Services (DHHS) showed that on
December 31, 2014, Chad owed $557.79. Chad and Heather
testified that Chad did not meet his child support obligations
for a period of several weeks in 2013 because he lost his
job, and the amount owed shown on the DHHS report at the
end of 2014 reflected what remained of his prior arrearage.
The DHHS report showed that Chad’s consistent payments
throughout 2014 applied to satisfy the present month’s child
support obligation, and DHHS applied any remaining money
from Chad’s payments to the balance in arrears carried for-
ward from past months.
   Heather had testified at depositions taken in July 2016
that she believed Chad could not take the 2014 dependency
exemption, because he was not “current” on child support.
She testified that she had talked to child support enforcement
and obtained a copy of the payment history report for that
year. Because Chad did not have a zero balance at the end
of 2014, she filed her taxes believing he could not take the
exemption.
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                      YOCHUM V. YOCHUM
                       Cite as 312 Neb. 535
2019 Dependent Tax Exemption.
   With respect to the 2019 tax year, the payment history report
from DHHS showed that Chad had a credit on December 31,
2019, of $114.85 for child support. Chad testified about a
timing issue, specifically that the account showed a credit,
because there are periods of time where there are credits and
periods of time where money is owed, depending on how
many pay periods are in a month. He testified that in January
or early February 2020, he sent a text message to Heather
reminding her that he could claim the two minor children
on the taxes for the 2019 tax year. He received no response.
He testified that he sent a text message to Heather in August
2020 asking why she used the child tax deduction and that she
stated she forgot.
   Chad testified at the October 2020 trial that he lost a $2,000
tax credit because he could not claim one child in 2019 and
that he subsequently lost out on a coronavirus relief payment
of $500. He explained that the 2019 coronavirus relief package
would have given him an additional payment for each child
under the age of 17 and requested that Heather repay the relief
money as well as the tax credit.
Daycare.
   Chad testified on cross-examination that the children
attended daycare from 2010 to 2018, and he conceded that he
had never paid childcare expenses to Heather or to the child-
care facilities. He claimed he had never received any statement
or receipt from Heather regarding expenses for daycare or
childcare. He acknowledged two text message conversations
and agreed that Heather had previously told Chad that he owed
half of childcare expenses. Chad testified that he thought day-
care expenses were free for Heather because of her work for
the childcare providers. He testified that he believed that day-
care continued to be free as a benefit of Heather’s employment
and that that was their understanding at the time of the divorce.
He testified that he did not receive an invoice to pay daycare
expenses until late 2020.
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                       YOCHUM V. YOCHUM
                        Cite as 312 Neb. 535
    Heather testified that she had provided Chad three daycare
receipts over the years and that she alone paid for daycare
from 2011 through 2018. Heather testified that she stopped
providing Chad receipts, because he would get angry and call
her names. Heather testified that she received “Title 20” and
$5,000 per year of daycare costs from her employer. Heather
did not provide any exhibits showing receipts she sent to Chad
prior to October 2020, which date was proximate to Heather’s
filing for contempt for Chad’s alleged failure to pay childcare.
Heather offered exhibits 21 and 22, which included attach-
ments to an October 5, 2020, text message sent by Heather to
Chad. The attachments were represented as reflecting daycare
expenses. After her benefits, Heather claimed to have paid
childcare expenses of $946 in 2016, $1,135.95 in 2017, and
$757.28 in 2018. Exhibits 21 and 22 were excluded from evi-
dence as hearsay.
District Court Order.
   At the conclusion of the evidence, the district court found
Heather in contempt for taking incorrect dependency exemp-
tions in 2014 and 2019. The court noted that Chad fell behind
in 2013 when he lost his job. In June 2021, the court issued an
order finding Heather in willful and contumacious contempt
of the decree, sentencing her to 30 days in jail, with the abil-
ity to avoid jail time by making $200 monthly payments to
Chad for 24 months. The court ordered Heather to pay a total
judgment of $10,075, which was composed of $3,975 in addi-
tional taxes Chad paid in 2014, a $2,000 tax refund he lost for
2019, $500 and $600 2020 coronavirus relief payments, and
$3,000 in attorney fees. Heather appeals.
                 ASSIGNMENTS OF ERROR
   Heather claims, summarized and restated, that the district
court erred when it found that Heather was in willful and con-
tumacious contempt of the decree and order in modification.
She also claims that the district court abused its discretion with
respect to damages and attorney fees awarded to Chad.
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          Nebraska Supreme Court Advance Sheets
                   312 Nebraska Reports
                       YOCHUM V. YOCHUM
                        Cite as 312 Neb. 535
                   STANDARDS OF REVIEW
   [1] The meaning of a divorce decree presents a question
of law, in connection with which an appellate court reaches
a conclusion independent of the determination reached by the
court below. Vyhlidal v. Vyhlidal, 311 Neb. 495, 973 N.W.2d
171 (2022).
   [2] In a civil contempt proceeding where a party seeks reme-
dial relief for an alleged violation of a court order, an appellate
court employs a three-part standard of review in which (1) the
trial court’s resolution of issues of law is reviewed de novo, (2)
the trial court’s factual findings are reviewed for clear error,
and (3) the trial court’s determinations of whether a party is in
contempt and of the sanction to be imposed are reviewed for
abuse of discretion. Id.   [3,4] A trial court’s decision awarding or denying attorney
fees in a contempt proceeding will be upheld on appeal absent
an abuse of discretion. See Becher v. Becher, 311 Neb. 1, 970
N.W.2d 472 (2022). A judicial abuse of discretion requires that
the reasons or rulings of the trial court be clearly untenable
insofar as they unfairly deprive a litigant of a substantial right
and a just result. Id.
                         ANALYSIS
   Heather claims that the district court erred when it found
that she was willfully in contempt of court because she had
claimed dependency exemptions on her federal income taxes
for the years 2014 and 2019. She also challenges the amounts
of damages and attorney fees awarded to Chad. Heather
contends that the language of the decree, unchanged by the
subsequent order in modification, permitted Chad to claim
the minor children for dependency exemption purposes only
“so long as he is current on his child support, child care, and
medical care obligations at the end of the appropriate tax
year” and that he was not “current.” Brief for appellant at 14
(emphasis omitted). Below, we examine whether Chad was
current on these obligations at the end of the 2014 and 2019
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                      YOCHUM V. YOCHUM
                       Cite as 312 Neb. 535
tax years and conclude that Chad was not current in 2014 but
was current in 2019 and thereby entitled to the dependency tax
exemption for 2019, but not 2014. We also adjust the damages
awarded to Chad and remand the issue of attorney fees to the
district court.

2014 Tax Year.
   With respect to 2014, Heather argues that Chad was in
arrears on child support payments and was not “current” at the
end of the year—and thus not entitled to claim the dependent
tax exemption—and was not harmed with respect to his liabil-
ity for the 2014 tax year. We agree with Heather’s argument.
   Chad does not contest that he owed a balance on December
31, 2014, but argues that because he had not missed monthly
payments in 2014, he was “current.” We conclude that “cur-
rent” in the context of this decree means fully paid and up to
date. Chad was not “current” at the end of the 2014 tax year.
   The testimony was consistent that Chad had an automatic
wage withholding, except for 6 weeks in 2013 when he lost
his job. Exhibits at trial, including child support payment his-
tory reports from DHHS, confirmed this testimony. When Chad
missed several child support payments in 2013, his account fell
into arrears. As Chad resumed his regular payments, each pay-
ment applied first to the pending month’s child support obliga-
tion. Money remaining after the pending month’s support obli-
gation served to reduce the amount in arrears, and the arrearage
decreased until Chad became fully caught up in 2016. On
December 31, 2014, Chad owed a balance of $557.79, largely
composed of the arrearage incurred in 2013 for failure to pay
child support.
   Chad argues that he was “current” under the decree, because a
balance of $557.79 was not enough to trigger enforcement pro-
ceedings. As authority, he cites Neb. Rev. Stat. § 43-1718.01(4)
(Reissue 2016), which provides:
      No obligor whose child support payments are automati-
      cally withheld from his or her paycheck shall be regarded
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                      YOCHUM V. YOCHUM
                       Cite as 312 Neb. 535
      or reported as being delinquent or in arrears if (a) any
      delinquency or arrearage is solely caused by a disparity
      between the schedule of the obligor’s regular pay dates
      and the scheduled date the child support is due, (b) the
      total amount of child support to be withheld from the
      paychecks of the obligor and the amount ordered by the
      support order are the same on an annual basis, and (c) the
      automatic deductions for child support are continuous and
      occurring.
Section 43-1718.01 concerns child support enforcement. This
case is not an enforcement action. Instead, we are called upon
to follow the language of the decree. See Vyhlidal v. Vyhlidal,
311 Neb. 495, 973 N.W.2d 171 (2022). Even if § 43-1718.01
could provide context for the meaning of certain words used
in the decree, it is factually inapplicable here because Chad’s
arrearage is not a timing issue “solely caused by a disparity
between the schedule of the obligor’s regular pay dates and the
scheduled date the child support is due.” Chad’s arrearage was
not caused solely by bureaucratic lag or timing discrepancies;
the reason he was not current was because of events in 2013.
Under the plain language of the decree, because Chad was not
current on his child support obligations at the end of the 2014
tax year, he was not entitled to claim the dependency exemp-
tion on his federal taxes.
   The record shows that Heather was informed by DHHS
reports that Chad was in arrears on December 31, 2014, and
thus, Chad was not “current.” Appropriately, she filed her taxes
and claimed the dependency exemption for the 2014 tax year.
The district court erred when it held Heather in willful and
contumacious contempt of court for having taken child tax
exemptions in her tax filings for 2014. We reverse this portion
of the order of the district court. Further, based on our ruling,
because Chad was not harmed with respect to his tax liability
for the 2014 tax year, we vacate the damage award of $3,975
to which Chad was not entitled.
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                       YOCHUM V. YOCHUM
                        Cite as 312 Neb. 535
2019 Tax Year.
   With respect to 2019, Heather claims that the district court
erred when it found her in contempt for taking the dependent
tax credit for 2019. Specifically, Heather claims that Chad was
not current on paying his portion of childcare expenses and
thus not entitled to the exemptions. We find no merit to this
claim of error.
   Heather testified that she paid work-related childcare
expenses for the children over the years, and Chad admitted
that he had never paid Heather for daycare, because he believed
it was a benefit of Heather’s employment. However, turning to
the decree which controls our analysis, the question for the trial
court and for us on appeal is whether Chad failed to “reimburse
[Heather], as necessary for child care expenses within fifteen
(15) days of receipt of the statement for the same.”
   The record before us has no evidence that Heather timely
submitted childcare expense statements to Chad prior to
December 31, 2019, as anticipated by the decree or that such
statements remained unpaid at the end of December 2019.
Heather’s requests for reimbursement for childcare expenses
submitted to Chad after December 31, 2019, are not encom-
passed by the assignments of error in this appeal. The record of
admitted evidence does not prove a failure by Chad to timely
pay childcare, and we note merely incidentally that DHHS pay-
ment history reports demonstrate that on December 31, 2019,
Chad had a child support credit of $114.85.
   Given the admitted evidence, Chad established that Heather
took the dependency exemption for 2019, even though Chad
was current on his obligations under the decree and order
in modification. The district court did not err when it found
Heather in contempt of the decree, because she took the depen-
dency exemptions for the 2019 tax year. We affirm this portion
of the district court’s order.
Damages for 2019 Tax Year.
  Because we have concluded that Chad was entitled to the
dependency exemption for 2019, we must consider the damages
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                       YOCHUM V. YOCHUM
                        Cite as 312 Neb. 535
he may have suffered as a consequence of being deprived of
the exemption in 2019. Specifically, although there was evi-
dence that Chad did not receive a $500 coronavirus relief pay-
ment, Heather claims that Chad did not adduce evidence of the
second 2020 relief payment, and the district court erred when
it included an extra $600 in damages for Chad that was unsup-
ported by the evidence at trial. We agree with Heather that the
record lacks evidence related to a hypothetical $600 payment
and vacate the award of $600.
    [5,6] We have often stated that a plaintiff’s evidence of dam-
ages may not be speculative or conjectural and must provide
a reasonably certain basis for calculating damages. Pribil v.
Koinzan, 266 Neb. 222, 665 N.W.2d 567 (2003). We have con-
sistently framed the question whether the evidence of damages
is “reasonably certain” as a question of law, and not as a matter
to be decided by the trier of fact. Id.    [7-9] Here, to evaluate whether the evidence of Chad’s
claimed damages is reasonably certain, we must examine the
evidence in the record. An appellate record typically contains
the bill of exceptions, used to present factual evidence to an
appellate court, and the transcript, used to present pleadings
and orders of the case to the appellate court. In re Estate of
Radford, 297 Neb. 748, 901 N.W.2d 261 (2017). A bill of
exceptions is the only vehicle for bringing evidence before an
appellate court; evidence which is not made a part of the bill
of exceptions may not be considered. Id. Before this court can
consider evidence bearing upon an issue of fact, evidence must
have been offered at the trial court and embodied in the bill
of exceptions. Smick v. Langvardt, 216 Neb. 778, 345 N.W.2d
830 (1984). Specifically, we must consider whether the bill
of exceptions contains any evidence which contributed to the
lower court’s decision either through exhibits, through judicial
notice, or as a result of a stipulation or admission by the par-
ties. See In re Estate of Radford, supra.    The parties do not dispute that Chad lost a $2,000 refund
he would have received if he had claimed a dependent on his
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                       YOCHUM V. YOCHUM
                        Cite as 312 Neb. 535
2019 taxes. Chad also testified at the October 5, 2020, hearing
that he lost a $500 payment from the federal coronavirus relief
package. However, although Chad did not testify to a second
relief payment, the district court nevertheless awarded Chad
$1,100 to reflect $500 and $600 coronavirus relief payments.
Although there was some argument by counsel for Chad rela-
tive to the $600 stimulus opportunity, the record does not con-
tain evidence, judicial notice, or stipulation or admission of the
parties that Chad lost a $600 relief payment which may have
been available later in 2020. Accordingly, we reverse the award
of the additional $600 in damages to Chad because it exceeded
the evidence in the record.

Attorney Fees.
   Finally, Heather assigns error to the district court’s award of
$3,000 for Chad’s attorney fees, noting that Chad had submit-
ted an affidavit that indicated his attorney fees were $2,031.44.
   [10-12] We have explained that when a party willfully vio-
lates a decree, coercive and remedial sanctions are appropri-
ate. See Vyhlidal v. Vyhlidal, 311 Neb. 495, 973 N.W.2d 171(2022). Civil contempt proceedings are instituted to preserve
and enforce the rights of private parties to a suit when a party
fails to comply with a court order made for the benefit of the
opposing party. Id. Costs, including reasonable attorney fees,
can be awarded in a contempt proceeding when there has been
a finding of contempt. Id.   [13] The decision to award attorney fees is a matter of dis-
cretion. See Becher v. Becher, 311 Neb. 1, 970 N.W.2d 472(2022). Because we reverse the portion of the order which
found Heather in contempt related to the 2014 dependency
exemption and we vacate the damage awards of $3,975 and
$600 to Chad, we believe the district court should exercise its
discretion anew in light of these outcomes. Accordingly, we
reverse the award of attorney fees and remand the cause for
reconsideration and recalculation of attorney fees in light of
this opinion.
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                     YOCHUM V. YOCHUM
                      Cite as 312 Neb. 535
                        CONCLUSION
   For the reasons above, we conclude that Heather was not
in contempt of the decree when she took a dependency tax
exemption for 2014, and we reverse the order of the district
court which found Heather in contempt regarding the 2014 tax
exemption and vacate the award to Chad of $3,975 occasioned
by this incorrect ruling. We affirm the order finding Heather
in contempt with respect to the 2019 tax year. We vacate the
award of $600 in damages to Chad for a lost coronavirus relief
payment for the 2019 tax year which was unsupported by the
record. We reverse the award of attorney fees to Chad and
remand the cause with directions to award Chad reasonable
attorney fees, and for further proceedings in conformity with
this opinion.
                   Affirmed in part, vacated in part, and
                   in part reversed and remanded
                   for further proceedings.
